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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

DARCY ROAKE, et al.,
PLAINTIFFS,
V. Civil Action No. 3:24-cv-517
CADE BRUMLEY, et al., Judge: JWD - SDJ
DEFENDANTS.
NOTICE OF APPEAL

Pursuant to Federal Rule of Appellate Procedure 3(a), Defendants Cade Brumley, Conrad
Appel, Judy Armstrong, Kevin Berken, Preston Castille, Simone Champagne, Sharon Latten-
Clark, Lance Harris, Paul Hollis, Sandy Holloway, Stacey Melerine, Ronnie Morris, East Baton
Rouge Parish School Board, Livingston Parish School Board, Vernon Parish School Board, and
St. Tammany Parish School Board (“Defendants”) hereby appeal to the United States Court of
Appeals for the Fifth Circuit the Court’s November 12, 2024 Ruling on Defendants’ Motion to
Exclude Putative Expert Testimony (ECF No. 85) and the Court’s November 12, 2024 Ruling and
Order (ECF No. 86) denying Defendants’ Consolidated Motion to Dismiss and granting Plaintiffs’

Motion for Preliminary Injunction.
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Dated: November 12, 2024

Respectfully submitted,

/s/ J. Benjamin Aguitiaga
J. BENJAMIN AGUINAGA*
Solicitor General
/s/ Zachary Faircloth
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Appel, Judy Armstrong, Kevin Berken, Preston
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Clark, Lance Harris, Paul Hollis, Sandy
Holloway, Stacey Melerine, Ronnie Morris,
East Baton Rouge Parish School Board,
Livingston Parish School Board, Vernon Parish
School Board, and St. Tammany Parish School

Board

*pro hac vice granted
